      Case 6:18-cv-00116-ADA-JCM Document 43 Filed 08/29/19 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 A.J. RABE, INC.,                              §
 Plaintiff                                     §
                                               §
 v.                                            §     Case No. 6:18-C V-00116-ADA
                                               §
 FARM SERVICE AGENCY,                          §
 UNITED STATES DEPARTMENT                      §
 OF AGRICULTURE, NATIONAL                      §
 APPEAL DIVISION,                              §
 Defendants                                    §




                                     FINAL JUDGMENT

       In accordance with the Order Adopting Report and Recommendations of United States

Magistrate Judge Jeffrey C. Manske [Dkt. 411, this Court enters its Judgment as follows:

       IT IS ORDERED that the Defendant's Motion to Dismiss [Dkt. 35] is GRANTED,

Plaintiff's claims are DISMISSED, and this case is DISMISSED.

       IT IS FURTHER ORDERED that all costs of court will be taxed against the party

incurring the same.

       IT IS FURTHER ORDERED that any relief not specifically granted in this Judgment is

DENIED.



       SIGNED on August 29, 2019.



                                                      c20Ja
                                                    ALAN D ALBRIEGHT         }
                                                    UNITED STATES DISTRICT JUDGE
